Case 1:15-bk-13134-MB   Doc 568 Filed 01/04/22 Entered 01/04/22 13:33:06   Desc
                         Main Document     Page 1 of 5
Case 1:15-bk-13134-MB   Doc 568 Filed 01/04/22 Entered 01/04/22 13:33:06   Desc
                         Main Document     Page 2 of 5
Case 1:15-bk-13134-MB   Doc 568 Filed 01/04/22 Entered 01/04/22 13:33:06   Desc
                         Main Document     Page 3 of 5
Case 1:15-bk-13134-MB   Doc 568 Filed 01/04/22 Entered 01/04/22 13:33:06   Desc
                         Main Document     Page 4 of 5
Case 1:15-bk-13134-MB   Doc 568 Filed 01/04/22 Entered 01/04/22 13:33:06   Desc
                         Main Document     Page 5 of 5
